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 1                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                                OAKLAND DIVISION

 3
      DEFENSE FOR CHILDREN                                No. 4:23-cv-05829-JSW
 4    INTERNATIONAL – PALESTINE; AL-
      HAQ; AHMED ABU ARTEMA;
 5    MOHAMMED AHMED ABU ROKBEH;                          [PROPOSED] ORDER GRANTING
      MOHAMMAD HERZALLAH; A.N.;                           DEFENDANTS’ MOTION TO
 6    LAILA ELHADDAD; WAEIL ELBHASSI;                     DISMISS AND DENYING
      BASIM ELKARRA; and DR. OMAR EL-                     PLAINTIFFS’ MOTION FOR
 7    NAJJAR,                                             PRELIMINARY INJUNCTION
 8                   Plaintiffs,
 9                           v.                           Honorable Jeffrey S. White
                                                          United States District Judge
10    JOSEPH R. BIDEN, Jr., President of the
      United States; ANTHONY J. BLINKEN,
11    United States Secretary of State; LLOYD
      JAMES AUSTIN III United States Secretary
12    of Defense, in their official capacities,
13                   Defendants.
14

15          Defendants Joseph R. Biden Jr., President of the United States, Anthony J. Blinken, United
16   States Secretary of State, and Lloyd James Austin III, United States Secretary of Defense have

17   filed a motion to dismiss this action pursuant to Federal Rules of Civil Procedure 12(b)(1) and

18   12(b)(6) and an opposition to Plaintiffs’ Motion for Preliminary Injunction. Having considered

19   both motions, and all filings in support thereof or opposition thereto, it is hereby ORDERED that

20   Defendants’ motion to dismiss is GRANTED, Plaintiffs’ Motion for Preliminary Injunction is
     denied as moot, and the above-captioned action is dismissed. IT IS SO ORDERED.
21

22
     DATED: ______________                                       __________________________
23
                                                                 JEFFREY S. WHITE
24
                                                                 United States District Judge
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28

                                                   ORDER
                                         Case No. 4:23-cv-05829-JSW

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